
SHIRLEY S. ABRAHAMSON, C.J.
¶ 58. (concurring).
The instant case is part of a trilogy of cases examining the constitutionality of warrantless, nonconsensual blood draws performed on persons suspected of driving under the influence of an intoxicant in light of Missouri v. McNeely, 133 S. Ct. 1552 (2013). The other two cases in this trilogy are State v. Kennedy, 2014 WI 132, 359 Wis. 2d 454, 856 N.W.2d 834, and State v. Foster, 2014 WI 131, 360 Wis. 2d 12, 856 N.W.2d 847. For a discussion of these three opinions, including the instant case, and the issues arising therein, see my dissenting opinion in State v. Foster, 2014 WI 131, 360 Wis. 2d 12, 856 N.W.2d 847.
